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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

 LA UNIÓN DEL PUEBLO ENTERO, et al.,             §
                                                 §
        Plaintiffs,                              §
                                                 §
 v.                                              §
                                                         Case No. 5:21-cv-00844
                                                 §
 GREGORY W. ABBOTT, et al.,                      §
                                                 §
        Defendants.                              §

             ORDER SETTING DEADLINE FOR RESPONSIVE PLEADING

       Before the Court is the State Defendants’ Unopposed Motion to Set Deadline for Responsive

Pleading. After considering the Motion, the Court is of the opinion that it should be GRANTED.

       IT IS THEREFORE ORDERED that Defendants Abbott, Esparza, and Paxton have until

October 25, 2021, to respond to Plaintiffs’ Complaint.



DATE: _________________


                                              XAVIER RODRIGUEZ
                                              UNITED STATES DISTRICT JUDGE




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